UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:
                                               Case No.: 20-10322-CLB
The Diocese of Buffalo, N.Y.,                  Chapter: 11

                    Debtor.


                                  NOTICE OF FILING

         PLEASE TAKE NOTICE that, in accordance with the Order entered July 9,

2020 [Docket No. 442] Nunc Pro Tunc to February 28, 2020, Connors LLP has filed

the Monthly Fee Statement of Connors LLP for Compensation for Services

Rendered and Reimbursement of Expenses as Special Counsel to The Diocese of

Buffalo, N.Y., for the Period March 1, 2021 – March 31, 2021, a copy of which is

attached hereto and hereby served upon you.


DATED:        Buffalo, New York
              April 28, 2021


                                              s/ Randall D. White
                                              Randall D. White, Esq.
                                              CONNORS LLP
                                              Special Counsel for Debtor
                                              The Diocese of Buffalo, N.Y.
                                              1000 Liberty Building
                                              Buffalo, New York 14202
                                              (716) 852-5533




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:
                                               Case No.: 20-10322-CLB
The Diocese of Buffalo, N.Y.,                  Chapter: 11

                     Debtor.


              MONTHLY FEE STATEMENT OF CONNORS LLP
           FOR COMPENSATION FOR SERVICES RENDERED AND
         REIMBURSEMENT OF EXPENSES AS SPECIAL COUNSEL TO
                    THE DIOCESE OF BUFFALO, N.Y.
         FOR THE PERIOD MARCH 1, 2021 THROUGH MARCH 31, 2021

Name of Applicant:                         Connors LLP

Authorized to Provide                      The Diocese of Buffalo, N.Y.,
Professional Services to:                  Debtor-in-Possession

Date of Retention:                         Order entered July 9, 2020 [Docket No.
                                           442] Nunc Pro Tunc to February 28,
                                           2020

Period for which compensation              March 1, 2021 – March 31, 2021
and reimbursement is sought:

Amount of compensation sought              80% of $87,795.00 ($70,236.00)
as actual, reasonable, and
necessary:

Amount of expense                          $1,256.52
reimbursement sought as actual,
reasonable, and necessary:


This is a:    X monthly ___ quarterly ___ final application.

This is the          monthly fee statement of Connors LLP in this case.




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                                    CONNORS LLP
                                    1000 Liberty Building
                                     Buffalo, NY 14202
                                   TAX ID NO. XX-XXXXXXX

                                         April 27, 2021

                                                             Invoice#     35421            TMC
DIOCESE OF BUFFALO                                           Our file#      002700        00006
795 Main Street                                              Billing through         03/31/2021
Buffalo, NY 14203

MISCELLANEOUS MATTERS
PROFESSIONAL SERVICES

03/01/2021   LFQ  (Misc) Telephone conference             2.80 hrs.       250 /hr      700.00
                 regarding plan for monitoring
                 priests (1.5); work on pursuing
                 plan regarding above (.6);
                 telephone conference with
                 Independent Diocesan Review
                 Board Chairman (.1); assist with
                 investigation (.4); revise policy
                 regarding intake (.2).
03/02/2021   LFQ (Misc) Video conference with             3.60 hrs.       250 /hr      900.00
                 Chancery representatives
                 regarding potential for complaint
                 manager (1.5); communications
                 with Independent Diocesan
                 Review Board Chairman and
                 auditor regarding same (0.4);
                 work on notifying District
                 Attorneys of new complaints
                 (1.4); communications with
                 investigator (.3).
03/02/2021   TMC (Misc) Confer with priest                1.60 hrs.       250 /hr      400.00
                 regarding harassing phone calls
                 that he is receiving from an
                 individual claiming to be
                 affiliated with law firm (.4);
                 review of new litigation
                 documents and forwarding to
                 counsel for the Franciscans (.6);
                 review of various motion
                 documents that were filed in
                 connection with similar cases
                 (.3); email correspondence with
                 the Diocese regarding insurance
                 carrier notification (.3).

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03/03/2021   LFQ      (Misc) Communications with             1.20 hrs.        250 /hr       300.00
                     investigator regarding report (.9);
                     work on response to attorney for
                     priest (.3).
03/04/2021   LFQ      (Misc) Communications with             0.40 hrs.        250 /hr       100.00
                     Chancery and Independent
                     Diocesan Review Board
                     Chairman regarding
                     investigations.
03/05/2021   LFQ      (Misc) Work on obtaining               0.90 hrs.        250 /hr       225.00
                     information for Independent
                     Diocesan Review Board
                     Chairman regarding certain past
                     investigations.
03/06/2021   LFQ      (Misc) Communications with             0.50 hrs.        250 /hr       125.00
                     Independent Diocesan Review
                     Board Chairman regarding
                     various investigations.
03/08/2021   LFQ      (Misc) Communications with             2.00 hrs.        250 /hr       500.00
                     attorney for priest regarding
                     subpoena sent to Diocese (.4);
                     communications with
                     investigator of abuse claims (.3);
                     review report of investigator (.8);
                     communications with
                     Independent Review Board
                     Chairman and Chancery
                     representative regarding
                     investigations of claims against
                     priests whose cases are being
                     sent to Rome (.5).
03/08/2021   KKS      (Independent Diocesan Review           2.20 hrs.        100 /hr       220.00
                     Board) Review and analyze lists
                     of CVA lawsuits and claims for a
                     comprehensive review of those
                     claims that need to be reported to
                     the Review Board.
03/09/2021   KKS      (Independent Diocesan Review           2.20 hrs.        100 /hr       220.00
                     Board) Prepare detailed list of
                     CVA claims in preparation for
                     IDRB.
03/10/2021   LFQ      (Misc) Communication with the          1.00 hrs.        250 /hr       250.00
                     Court and attorney for priest
                     regarding subpoena and
                     protective order (.8);



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                 communication with
                 Independent Diocesan Review
                 Board Chairman regarding
                 investigation (.2).
03/10/2021   TMC (Independent Diocesan Review            0.30 hrs.        250 /hr        75.00
                 Board) Receipt of inquiry from
                 Board Chair regarding recent
                 report on priest.
03/11/2021   RDW(Misc) Communication with                2.40 hrs.        250 /hr       600.00
                 Diocese regarding investigation
                 of complaint (.4); review of file
                 regarding above (2.0).
03/12/2021   RDW(Misc) Continue file review and          1.50 hrs.        250 /hr       375.00
                 research regarding prior
                 complaint as requested by
                 Diocese.
03/16/2021   TMC (Misc) Providing background             0.70 hrs.        250 /hr       175.00
                 information to Bishop Fisher
                 with respect to a survivor/victim
                 who has requested a personal
                 meeting.
03/18/2021   LFQ (Misc) Prepare summary of cases         3.80 hrs.        250 /hr       950.00
                 involving particular priests
                 including obtaining documents
                 regarding the various claims
                 (2.5); communication with
                 Chancery regarding meeting
                 with victim-survivor (.6);
                 communications with Victim
                 Assistance Coordinator
                 regarding claim (.4);
                 communications with Chancery
                 and other attorneys about
                 reporting matter to Congregation
                 for the Doctrine of the Faith (.3).
03/18/2021   TMC (Misc) Obtaining background             0.70 hrs.        250 /hr       175.00
                 information for possible meeting
                 by Bishop Fisher with
                 survivor/victim.
03/19/2021   LFQ (Misc) Review investigative             1.70 hrs.        250 /hr       425.00
                 reports (.8); work on response to
                 subpoena (.9).
03/19/2021   TMC (Misc) Email correspondence             0.20 hrs.        250 /hr        50.00
                 from Victim Assistant
                 Coordinator regarding interview




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                 request from certain
                 survivors/victims.
03/22/2021   LFQ (Misc) Communications with           1.90 hrs.        250 /hr       475.00
                 Chancery regarding
                 investigations (.6);
                 communications with bankruptcy
                 attorneys regarding subpoena
                 (.5); communications with
                 attorneys involved in the matter
                 giving rise to subpoena (.8).
03/23/2021   LFQ (Misc) Communication with            1.10 hrs.        250 /hr       275.00
                 attorneys and court personnel
                 regarding subpoenaed records.
03/24/2021   LFQ (Misc) Work on proposed court        1.40 hrs.        250 /hr       350.00
                 order regarding records and
                 communications regarding same.
03/25/2021   LFQ (Misc) Communications with           2.10 hrs.        250 /hr       525.00
                 Independent Diocesan Review
                 Board Chairman (.4); work on
                 handling claims (.3); work on
                 subpoena issue (1.4).
03/25/2021   RDW(Misc.) Review of file and email      0.80 hrs.        250 /hr       200.00
                 to Terrence M. Connors
                 regarding response to Diocese
                 inquiry regarding prior
                 complaint.
03/26/2021   LFQ (Misc) Communications with           2.30 hrs.        250 /hr       575.00
                 Chancery representatives
                 regarding new information as to
                 certain prior claims (.4);
                 communications with attorneys
                 for victim-survivors regarding
                 same (.7); work on plan to
                 respond to new information (.4);
                 work on subpoena issue (.6);
                 communications regarding same
                 (.2).
03/29/2021   LFQ (Independent Diocesan Review         2.70 hrs.        250 /hr       675.00
                 Board) Communication with
                 Independent Diocesan Review
                 Board Chairman (.4);
                 communications with
                 investigator (.3); work on
                 responding to inquiry from
                 Chancery (.3); communication




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                     with Chancery regarding
                     investigations (.4); work on plan
                     for next Independent Diocesan
                     Review Board meeting (1.3).
03/31/2021   LFQ      (Independent Diocesan Review           3.50 hrs.        250 /hr        875.00
                     Board) Communications with
                     Independent Diocesan Review
                     Board and Chancery regarding
                     next Independent Diocesan
                     Review Board meeting (.4);
                     communications with
                     investigator (.2); work on agenda
                     in matters to be presented at the
                     next Independent Diocesan
                     Review Board Meeting (2.9).
03/31/2021   KKS      (Independent Diocesan Review           1.20 hrs.        100 /hr        120.00
                     Board) Review new CVA claims
                     and compare to known claims.

                   Total fees for this matter                                            $10,835.00




DISBURSEMENTS

03/31/2021   POSTAGE                                                                             2.00
03/31/2021   COMPUTER RESEARCH - WESTLAW                                                         2.23

                     Total disbursements for this matter                                      $4.23

BILLING SUMMARY
             TOTAL FEES                                                                   $10,835.00

             TOTAL DISBURSEMENTS                                                                 $4.23

             TOTAL CHARGES FOR THIS BILL                                                  $10,839.23




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                                   1000 Liberty Building
                                    Buffalo, NY 14202
                                  TAX ID NO. XX-XXXXXXX

                                         April 27, 2021

                                                             Invoice#     35422            TMC
DIOCESE OF BUFFALO                                           Our file#      002700        00040
795 Main Street                                              Billing through         03/31/2021
Buffalo, NY 14203
NYSAG SUBPOENA

PROFESSIONAL SERVICES

03/01/2021   LFQ   Work on reviewing and                  5.50 hrs.       250 /hr    1,375.00
                   preparing materials to be sent to
                   Attorney General (2.8); video
                   conference regarding same (1.6);
                   communication with Chancery
                   representative regarding
                   responsive material (1.1).
03/01/2021   TMC   Conferring with team to assess         4.60 hrs.       250 /hr    1,150.00
                   the plan for priests who have
                   been credibly accused of abuse
                   and continue to remain in
                   Diocese (.4); confer with outside
                   consultant regarding these issues
                   and the available options and
                   risk reduction strategies (.7);
                   discussing other changes in our
                   policies and procedures at the
                   Diocese regarding compliance
                   with the Charter (.3); conferring
                   with Diocese regarding annual
                   reports for the current audit
                   period and the published reports
                   for 2015 to 2019 (1.3);
                   conferring with Jones, Day
                   regarding the StoneBridge
                   materials and audit and other
                   materials (.7); conferring with
                   attorney Vacco and insurance
                   counsel regarding requests for
                   defense and indemnity (.6);
                   review of 2018 Charter Data
                   Audit attachments from
                   StoneBridge and our response
                   (.6).


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03/02/2021   LFQ   Assist with preparation of             3.40 hrs.      250 /hr        850.00
                   materials to be sent to Office of
                   Attorney General by obtaining
                   and providing information about
                   audits and past production (2.4);
                   video conference with Chancery
                   representatives and Jones Day
                   attorneys (1.0).
03/02/2021   RDW Review of file and                      0.80 hrs.       250 /hr        200.00
                   communications with Lawlor F.
                   Quinlan III and paralegal, Krista
                   K. Severino regarding audit
                   documents and information.
03/02/2021   TMC Confer with our joint defense           1.30 hrs.       250 /hr        325.00
                   team regarding the production of
                   documents and the yearly audits
                   conducted by StoneBridge (.6);
                   confer with former Federal
                   Probation Officer regarding
                   format and protocol to monitor
                   priests who have been credibly
                   accused of child abuse, but no
                   longer have faculties in Diocese
                   and report to Sr. Mary
                   McCarrick (.7).
03/02/2021   KKS   Confer with Lawlor F. Quinlan         2.20 hrs.       100 /hr        220.00
                   III regarding audit
                   documentation (.6); prepare
                   correspondence on previous
                   productions in response to
                   Lawlor F. Quinlan III's request
                   for audit documentation (1.4);
                   prepare Sharefile links regarding
                   CVA claims to their respective
                   district attorney offices and send
                   to Lawlor F. Quinlan III (.2).
03/03/2021   LFQ   Video conference with team and        3.20 hrs.       250 /hr        800.00
                   client (1.0); work on production
                   (1.7); communications with
                   Jones Day attorneys regarding
                   production (.5).
03/03/2021   TMC Confer with Diocese regarding           2.60 hrs.       250 /hr        650.00
                   update for consideration in
                   communications regarding this
                   matter (.3); confer with Jones,
                   Day regarding the StoneBridge
                   audits and the audit manual (.6);



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                       confer with Diocese about our
                       suggestions regarding Risk
                       Management/Compliance and
                       the documents we have provided
                       to the Diocese on those topics
                       (.8); reviewing draft response
                       regarding the requests for
                       StoneBridge documents and
                       other material and discussion
                       with our team (.6); discussions
                       with our team regarding
                       protective orders and
                       confidentiality agreements (.3).
03/03/2021    KKS      Prepare various audit documents         3.20 hrs.        100 /hr       320.00
                       from the years 2016 through
                       2020 for production to the OAG
                       (2.3); confer with Lawlor F.
                       Quinlan III regarding the
                       production (.3); confer with
                       litigation vendor regarding OAG
                       production (.6).
03/04/2021    LFQ      Work on production to be sent to        0.90 hrs.        250 /hr       225.00
                       Office of Attorney General.
03/04/2021    RDW      Review of documents and file            2.20 hrs.        250 /hr       550.00
                       regarding priests who are subject
                       of complaint (1.7); email
                       regarding above and strategy
                       (.5).
03/04/2021    TMC      Preparation for and participation       3.60 hrs.        250 /hr       900.00
                       in call with the attorneys for each
                       Diocese in the State of New
                       York and preparation of
                       memorandum to file (.9);
                       preparation of summary
                       memorandum for Bishop Fisher
                       with regard to certain issues that
                       affect each Diocese (.4);
                       conferring with team regarding
                       the status of discovery of certain
                       documents and audit information
                       (.4); further work on our efforts
                       to assemble appropriate material
                       to respond to discovery requests
                       and coordinating same with
                       Jones, Day (.7); reviewing
                       background information in
                       connection with the priests



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                       referenced in the NYS OAG
                       complaint (.5); providing further
                       information regarding these
                       cases to the joint defense team
                       (.7).
03/04/2021    KKS      Review and analyze charter            1.50 hrs.        100 /hr       150.00
                       documentations in the litigation
                       review database in preparation
                       for production to the OAG.
03/05/2021    TMC      Further work on our document          0.70 hrs.        250 /hr       175.00
                       production and privilege review.
03/07/2021    TMC      Confer with team regarding the        1.00 hrs.        250 /hr       250.00
                       motion to remand (.3); further
                       work on our presentation to the
                       Office of Attorney General (.4);
                       email correspondence with
                       Diocese regarding monitoring
                       proposal for credibly accused
                       priests (.3).
03/08/2021    LFQ      Review letter from Office of          4.60 hrs.        250 /hr      1,150.00
                       Attorney General (.1);
                       communications regarding same
                       (.3); communications regarding
                       monitoring policy requested by
                       Office of Attorney General (.8);
                       begin preparation of material to
                       be sent to Office of Attorney
                       General in response to its letter
                       (2.7).
03/08/2021    TMC      Conference call with Bishop           4.50 hrs.        250 /hr      1,125.00
                       Fisher regarding production of
                       documents (.6); review
                       information regarding respective
                       position of each Diocese
                       regarding the production of
                       documents, privilege issues, and
                       FOIL requests (.8); confer with
                       Sr. Mary McCarrick regarding
                       possible use of a former federal
                       probation officer to monitor
                       priests credibly accused of abuse
                       and the status of the Canon
                       lawyer's preparation of cases to
                       send to Rome (.8); confer with
                       counsel for other diocese
                       regarding their documentation
                       production (.3); additional email



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                       correspondence with Diocese
                       regarding terms and conditions
                       of the monitoring program (.4);
                       conferring with Jones, Day
                       regarding the response to our
                       letter and our proposal for a
                       second meeting (.4); review of
                       the StoneBridge audit materials
                       and expediting production (.3);
                       confer with our team regarding
                       our prior proposal with respect to
                       a risk prevention plan and the
                       implementation of an
                       independent contractor to
                       monitor compliance (.4); receipt
                       and review of coverage report
                       from carrier as to the available
                       insurance coverage for Bishops
                       Malone and Grosz and
                       forwarding same to attorney
                       Vacco (.5).
03/09/2021    LFQ      Communications with attorneys          4.20 hrs.        250 /hr      1,050.00
                       defending Diocese regarding
                       letter from Office of Attorney
                       General and proposed response
                       and details regarding same (1.1);
                       work on our production (3.1).
03/09/2021    TMC      Conference call with team              3.70 hrs.        250 /hr       925.00
                       regarding discussions with the
                       Office of Attorney General
                       regarding settlement and
                       document production (.8); confer
                       with team regarding the letter
                       from the Assistant Attorney
                       General (.3); confer with Sr.
                       Mary McCarrick regarding the
                       use of a Canon law firm to
                       forward cases to CDF (.2);
                       confer with Jones, Day team
                       regarding a second meeting with
                       the Office of Attorney General
                       (.3); email correspondence with
                       Diocese regarding media
                       concerns with respect to
                       documents and Office of
                       Attorney General discussions
                       (.4); reviewing most recent
                       changes to the abuse policy (.4);



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                       email correspondence with Chair
                       of the Independent Diocesan
                       Review Board regarding changes
                       (.3); reviewing input,edits, and
                       changes offered by Diocesan
                       representatives (1.0).
03/10/2021    LFQ      Draft proposed agreement with          6.80 hrs.        250 /hr      1,700.00
                       Office of Attorney General
                       regarding production (2.0); work
                       on production of documents
                       (4.8).
03/10/2021    RDW      Preparation of non-waiver and          1.20 hrs.        250 /hr       300.00
                       non-disclosure agreement (.8);
                       conferences regarding status and
                       strategy (.4).
03/10/2021    TMC      Preparation for and participation      3.70 hrs.        250 /hr       925.00
                       in discussion with our team (.9);
                       follow-up discussion with Jones,
                       Day (.2); further follow-up call
                       with Jones, Day regarding
                       document production and status
                       of discussions with Office of
                       Attorney General (.9); reviewing
                       draft opposition to the motion to
                       remand (.4); draft
                       correspondence to the Office of
                       Attorney General concerning our
                       next settlement meeting (.2);
                       confer with CORE Consultancy
                       regarding the risk compliance
                       program (.4); edit non-waiver
                       agreement (.3); report on issues
                       pertaining to the Office of
                       Attorney General and the
                       document disclosure to Bishop
                       Fisher (.4).
03/10/2021    KKS      Prepare production of the charter      1.20 hrs.        100 /hr       120.00
                       documentation for Lawlor F.
                       Quinlan III (.8); prepare and load
                       the production for the OAG and
                       send to litigation vendor for
                       processing (.4).
03/11/2021    LFQ      Work on response to Office of          6.20 hrs.        250 /hr      1,550.00
                       Attorney General's request by
                       collecting materials and working
                       on memoranda (5.8);
                       communications regarding same



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                       (.4).
03/11/2021    TMC      Preparation for and participation      3.80 hrs.        250 /hr       950.00
                       in conference call with team
                       regarding response to the Office
                       of Attorney General
                       investigation and litigation and
                       relevant issues (.9); further work
                       on non-waiver and NDA
                       agreements (.5); reviewing
                       confidentiality agreements used
                       by other dioceses (.4); review of
                       the approved changes to our
                       Charter policies and procedures
                       (.7); forwarding final versions of
                       revisions to Bishop Fisher (.3);
                       receipt and review of an updated
                       safety plan from Diocese with
                       modifications from consultants
                       (.7); confer with Sr. Mary
                       McCarrick regarding the use of a
                       former Federal Probation Officer
                       to monitor credibly accused
                       priests (.3).
03/11/2021    KKS      Prepare new order of OAG audit         1.60 hrs.        100 /hr       160.00
                       documentation for co-counsel's
                       review.
03/12/2021    LFQ      Work on production requested           6.10 hrs.        250 /hr      1,525.00
                       by Office of Attorney General
                       (5.2); communications with
                       attorneys defending Diocese
                       regarding same (.9).
03/12/2021    TMC      Gathering information for Jones,       1.30 hrs.        250 /hr       325.00
                       Day to help them prepare for
                       their meetings with the Office of
                       Attorney General (.6); email
                       correspondence with team
                       regarding strategy going forward
                       (.4); confer with Lawlor F.
                       Quinlan III regarding the
                       materials requested by the Office
                       of Attorney General and an
                       update for Jones, Day (.3).
03/12/2021    KKS      Review and analyze database            4.60 hrs.        100 /hr       460.00
                       and previous productions for
                       investigator reports in
                       preparation for production to the
                       OAG.



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03/13/2021   TMC Conferring with team regarding           1.10 hrs.      250 /hr        275.00
                   our response to the Office of
                   Attorney General and request for
                   additional conferences (.4);
                   review of agenda for next
                   discussion with Diocese,
                   including remand process,
                   settlement discussions, and the
                   confidentiality agreement (.7).
03/15/2021   TMC Receipt and review of Jones,            1.20 hrs.       250 /hr        300.00
                   Day filing in opposition to the
                   Office of Attorney General's
                   motion to remand (.6); email
                   correspondence with team
                   regarding above (.6).
03/15/2021   KKS   Continue to locate investigative      1.40 hrs.       100 /hr        140.00
                   reports in preparation for
                   production to the OAG.
03/16/2021   RDW Preparation for upcoming call           0.80 hrs.       250 /hr        200.00
                   with team regarding status and
                   strategy.
03/16/2021   TMC Conferring with team regarding          2.00 hrs.       250 /hr        500.00
                   the implementation of our
                   program to monitor credibly
                   accused sex offenders (.7);
                   conference with Jones, Day team
                   regarding the strategy with
                   respect to settlement discussions
                   (.7); email correspondence with
                   team regarding status reports of
                   the Office of Attorney General
                   discussions and events in other
                   Dioceses (.6).
03/17/2021   RDW Preparation for and telephone           1.40 hrs.       250 /hr        350.00
                   conference with Jones Day, and
                   Diocese regarding status,
                   strategy, and further handling
                   (1.0); follow-up on call (.4).
03/17/2021   TMC Receipt and review of                   1.50 hrs.       250 /hr        375.00
                   information prepared by Jones,
                   Day with respect to their analysis
                   of the allegations and the
                   applicability of the First
                   Amendment protection (.8);
                   email correspondence with our
                   team responding to questions
                   posed by Bishop Fisher (.4);


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                       further discussion with our team
                       regarding documents and the
                       applicable privileges (.3).
03/18/2021    TMC      Preparation for and participation     1.30 hrs.        250 /hr       325.00
                       in conference call of all
                       Diocesan attorneys for the State
                       of New York (.7); conferring
                       with our team regarding recent
                       legislation pending in the Senate
                       and status of our monitoring
                       program (.6).
03/19/2021    LFQ      Work on production requested          1.70 hrs.        250 /hr       425.00
                       by Office of Attorney General.
03/19/2021    KKS      Confer with Lawlor F. Quinlan         0.40 hrs.        100 /hr        40.00
                       III regarding documents to be
                       included in upcoming production
                       to the OAG.
03/20/2021    TMC      Email correspondence from team        0.50 hrs.        250 /hr       125.00
                       regarding new program to
                       monitor credibly accused priests;
                       email correspondence with Sr.
                       Mary McCarrick regarding use
                       of investigator .
03/21/2021    TMC      Email correspondence and              0.50 hrs.        250 /hr       125.00
                       follow-up call with former
                       federal law enforcement officer
                       regarding his project and our
                       recommendation of it several
                       years ago with respect to risk
                       assessment and compliance.
03/22/2021    TMC      Conference call with attorney for     1.10 hrs.        250 /hr       275.00
                       other Diocese regarding the
                       status of their discussions with
                       the Office of Attorney General
                       (.9); preparation of memorandum
                       (.2).
03/22/2021    KKS      Review and analyze                    1.90 hrs.        100 /hr       190.00
                       investigation reports in
                       preparation for production to
                       OAG.
03/23/2021    TMC      Reviewing draft letter to the         1.00 hrs.        250 /hr       250.00
                       Office of Attorney General
                       concerning our next discussion,
                       as well as a confidentiality
                       agreement (.4); reviewing
                       agenda for upcoming meeting,



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                       including key items (.6).
03/24/2021    TMC      Preparation for and participation      2.90 hrs.        250 /hr       725.00
                       in weekly status conference with
                       members of our team in order to
                       discuss the developments
                       regarding the investigation and
                       issues that affect other Dioceses,
                       including monitoring plan (.9);
                       preparation for and participation
                       in a lengthy conference call with
                       attorney for other Diocese to
                       discuss issues relevant to both of
                       our Dioceses (.8); conference
                       call with Diocese consultant
                       regarding status of the
                       non-waiver agreement and
                       production of documents (.8);
                       further discussion regarding
                       insurance companies and their
                       position with respect to coverage
                       (.4).
03/25/2021    LFQ      Work on presentation and               1.40 hrs.        250 /hr       350.00
                       production requested by Office
                       of Attorney General.
03/25/2021    RDW      Email to Terrence M. Connors           0.40 hrs.        250 /hr       100.00
                       and Lawlor F. Quinlan III
                       regarding strategy and
                       resolution.
03/25/2021    TMC      Preparation for and participation      2.80 hrs.        250 /hr       700.00
                       in conference with other NYS
                       Diocesan attorneys (.6);
                       receiving information from
                       attorney regarding the status of
                       certain matters in other diocese
                       and with the New York State
                       Conference of Catholic Bishops
                       (.2); follow-up call with attorney
                       Vacco concerning status and
                       developments (.7); receipt and
                       review of the remand brief filed
                       by the Office of Attorney
                       General (.6); lengthy email
                       correspondence with Jones, Day
                       on these topics (.7).
03/25/2021    KKS      Confer with Lawlor F. Quinlan          0.90 hrs.        100 /hr        90.00
                       III regarding potential
                       production in response to OAG's



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                       request (.7); prepare same (.2).
03/26/2021    KKS      Conference call with Lawlor F.        1.80 hrs.        100 /hr       180.00
                       Quinlan III regarding a
                       production to the OAG and
                       preparation of same (.2); prepare
                       an index that displays the order
                       and content of Lawlor F. Quinlan
                       III proposed production (1.6).
03/27/2021    LFQ      Work on production;                   0.50 hrs.        250 /hr       125.00
                       communications regarding same.
03/29/2021    LFQ      Communications with attorneys         2.10 hrs.        250 /hr       525.00
                       defending Diocese (.3); work on
                       production requested by Office
                       of Attorney General (1.8).
03/29/2021    TMC      Conferring with team regarding        1.50 hrs.        250 /hr       375.00
                       production of documents (.8);
                       reviewing the status of
                       previously produced documents
                       (.3); email correspondence with
                       Sr. Mary McCarrick regarding
                       our review of the policies,
                       procedures of the Diocese, and
                       the current MOU with the
                       District Attorneys for the eight
                       counties (.2); email
                       correspondence with Jones, Day
                       and Diocese regarding meeting
                       and the next agenda (.2).
03/29/2021    KKS      Confer with Lawlor F. Quinlan         0.70 hrs.        100 /hr        70.00
                       III regarding order in which the
                       tentative production to the OAG
                       will appear (.3); review same
                       (OAG production) (.4).
03/30/2021    LFQ      Communications regarding              0.70 hrs.        250 /hr       175.00
                       efforts to resolve lawsuit.
03/31/2021    LFQ      Conference call with team; work       0.50 hrs.        250 /hr       125.00
                       on production in response to
                       Office of Attorney General
                       request.
03/31/2021    TMC      Preparation for and participation     0.60 hrs.        250 /hr       150.00
                       in conference with team to
                       discuss our response to the
                       Office of Attorney General's
                       request for information.




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                   Total fees for this matter                                 $27,990.00




BILLING SUMMARY
               TOTAL FEES                                                     $27,990.00

               TOTAL CHARGES FOR THIS BILL                                    $27,990.00




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                                    CONNORS LLP
                                    1000 Liberty Building
                                     Buffalo, NY 14202
                                   TAX ID NO. XX-XXXXXXX

                                         April 27, 2021

                                                             Invoice#     35423            TMC
DIOCESE OF BUFFALO                                           Our file#      002700        00046
795 Main Street                                              Billing through         03/31/2021
Buffalo, NY 14203
CHILD VICTIMS ACT

PROFESSIONAL SERVICES

03/01/2021   RDW   Prepare for and conference             4.80 hrs.       250 /hr    1,200.00
                   regarding document production
                   and privilege issues (1.3);
                   preparation of and forward
                   documents to BSK for
                   production (.4); work on
                   identification of additional
                   documents for production,
                   including personnel files (1.8);
                   research and email to co-defense
                   counsel regarding CVA
                   decisions and health and
                   privilege issues (1.3).
03/01/2021   KER   Continue privilege review of           3.90 hrs.       200 /hr      780.00
                   priest personnel files (3.2); Meet
                   with Randall D. White regarding
                   potentially privileged documents
                   (.7).
03/01/2021   KKS   Prepare requested preliminary          5.10 hrs.       100 /hr      510.00
                   list concerning alleged abusers
                   (3.2); prepare email regarding
                   list to Lawlor F. Quinlan III and
                   Randall D. White (.3); review
                   and analyze priest personnel files
                   in preparation for production
                   (1.2); update production log (.2);
                   confer with Lawlor F. Quinlan
                   III regarding CVA claims (.2).
03/02/2021   RDW   Preparation for and emails             7.50 hrs.       250 /hr    1,875.00
                   regarding upcoming call with
                   Diocese and BSK regarding
                   document production issues and
                   possible insurer mediation (1.6);
                   review of newly filed CVA cases

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                       and notification emails regarding
                       above (.7); review of additional
                       email from BSK regarding
                       document production and
                       privilege issues and preparation
                       of detailed response (2.5);
                       continued review of documents
                       for production (2.7).
03/02/2021    TMC      Lengthy conference calls with          2.10 hrs.        250 /hr       525.00
                       relevant parties to discuss the
                       production of documents and
                       privilege issues (1.4); reviewing
                       options available to the Diocese
                       (.7).
03/02/2021    KER      Continue privilege review of           4.60 hrs.        200 /hr       920.00
                       priest personnel files.
03/02/2021    KKS      Review and analyze personnel           1.70 hrs.        100 /hr       170.00
                       file in preparation for Randall D.
                       White's review (1.0); review and
                       organize other documents for
                       Randall D. White's review (.7).
03/03/2021    RDW      Preparation for and telephone          5.70 hrs.        250 /hr      1,425.00
                       conference with Diocese and
                       BSK regarding document
                       production issues (1.7); pre-call
                       email regarding above (.8);
                       emails with BSK and paralegal,
                       Krista K. Severino regarding
                       document production index
                       regarding personnel files (.5);
                       review of filings regarding
                       severance and stay issues (.5);
                       continued review of documents
                       for production (1.5); review of
                       file and email regarding
                       telephone conference with other
                       diocesan counsel regarding
                       document production issues (.7).
03/03/2021    TMC      Preparation for and participation      1.70 hrs.        250 /hr       425.00
                       in conference call to discuss
                       privilege issues and discovery
                       (.9); further analysis and
                       working through options (.8).
03/03/2021    KER      Continue privilege review of           0.90 hrs.        200 /hr       180.00
                       priest personnel files.
03/03/2021    KKS      Prepare production log for BSK         2.00 hrs.        100 /hr       200.00



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                       reference (.9); review and
                       analyze priest personnel files for
                       production (1.1).
03/04/2021    RDW      Preparation for and participate in     4.70 hrs.        250 /hr      1,175.00
                       NYS diocesan counsel call (.6);
                       follow-up emails to counsel for
                       other diocese regarding
                       document production and
                       privilege issues (.7); receipt and
                       review of confidentiality
                       agreement and protective order
                       regarding Diocese of Rockville
                       Centre (1.7); legal research
                       regarding above (1.0); emails
                       regarding above and application
                       to our case (.7).
03/04/2021    TMC      Reviewing the position of the          0.90 hrs.        250 /hr       225.00
                       Diocese of Rockville Centre with
                       respect to the disclosure of
                       records that might be privileged
                       (.6); reviewing the agreement
                       with the creditor's committee
                       that was negotiated by the
                       Diocese of Rockville Centre (.3).
03/04/2021    KER      Continue privilege review of           1.20 hrs.        200 /hr       240.00
                       priest personnel files.
03/04/2021    KKS      Review and analyze priest              1.40 hrs.        100 /hr       140.00
                       personnel files and compare to
                       prior privilege log (1.2); confer
                       with Randall D. White regarding
                       same (.2).
03/05/2021    LFQ      Assist with document                   0.40 hrs.        250 /hr       100.00
                       production.
03/05/2021    RDW      Telephone conference with BSK          5.90 hrs.        250 /hr      1,475.00
                       regarding recent bankruptcy
                       court motion argument and
                       impact on pending state court
                       CVA motions (.5); emails with
                       co-defense counsel regarding
                       above (1.0); review of
                       documents, emails, and
                       conferences regarding document
                       privilege issues and priest
                       personnel file production (1.5);
                       legal research and emails with
                       counsel for other diocese
                       regarding document production


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                       and privilege issues (2.0); emails
                       with co-defense counsel
                       regarding scheduling order
                       issues (.5); correspondence from
                       plaintiff's counsel regarding new
                       complaints (.4).
03/05/2021    TMC      Receiving update on the motion         0.90 hrs.        250 /hr       225.00
                       for a stay regarding Lipsitz,
                       Green and developments in
                       Bankruptcy Court (.4); receipt of
                       inquiry from Diocese regarding
                       the status of priest and email
                       correspondence with Diocese
                       (.5).
03/05/2021    KER      Continue privilege review of           2.40 hrs.        200 /hr       480.00
                       priest personnel files.
03/06/2021    RDW      Review of Syracuse decision            3.40 hrs.        250 /hr       850.00
                       regarding preliminary injunction
                       and stay issues and LG cases
                       (.8); emails regarding scheduling
                       order issues (1.2); conference
                       with associate, Kelly E. Riley
                       and emails regarding document
                       production (.4); work on
                       document production (1.0).
03/06/2021    TMC      Receipt and review of decision         0.40 hrs.        250 /hr       100.00
                       of the Syracuse Bankruptcy
                       Court entering a preliminary
                       injunction against the
                       prosecution of Lipsitz, Green
                       cases.
03/06/2021    KER      Continue privilege review of           1.90 hrs.        200 /hr       380.00
                       priest personnel files.
03/07/2021    RDW      Preparation of requested               2.50 hrs.        250 /hr       625.00
                       insurance information and
                       forward to Terrence M. Connors
                       (.5); preparation of analysis of
                       healthcare privilege information
                       and issues (2.0).
03/07/2021    TMC      Reviewing updated information          0.60 hrs.        250 /hr       150.00
                       from insurance coverage lawyer
                       as to available insurance.
03/08/2021    RDW      Correspondence and emails              5.70 hrs.        250 /hr      1,425.00
                       regarding stay issues and
                       developments (.8); preparation
                       for and telephone conference



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                       with co-defense counsel
                       regarding healthcare privileges
                       and document production (.7);
                       further research and review of
                       file regarding healthcare and
                       privilege issues (2.0); continued
                       work on document production,
                       including priest personnel files
                       and other files (2.3).
03/08/2021    KER      Continue privilege review of           3.70 hrs.        200 /hr       740.00
                       priest personnel files (3.4); meet
                       with Randall D. White regarding
                       potentially privileged documents
                       (0.3).
03/08/2021    KKS      Prepare various lists regarding        3.80 hrs.        100 /hr       380.00
                       alleged abusers per the request of
                       Randall D. White (1.2); confer
                       with him regarding same (.2);
                       review and prepare priest
                       personnel files for production
                       (2.4).
03/09/2021    LFQ      Work on document production.           3.50 hrs.        250 /hr        875.00
03/09/2021    RDW      Review of new CVA case and             6.70 hrs.        250 /hr      1,675.00
                       emails regarding above (.6);
                       research and preparation for
                       upcoming call regarding
                       document production and
                       healthcare privilege issues (2.7);
                       work on document production,
                       including personnel files (3.2);
                       emails regarding recent inquiry
                       from claimant/victim (.2).
03/09/2021    TMC      Review of recent developments          0.90 hrs.        250 /hr       225.00
                       in Bankruptcy Court (.2); review
                       transcript of oral argument
                       before Bankruptcy Court (.7).
03/09/2021    KER      Continue privilege review of           2.40 hrs.        200 /hr       480.00
                       priest personnel files (1.5); meet
                       with Randall D. White (.9).
03/10/2021    RDW      Preparation for and telephone          4.70 hrs.        250 /hr      1,175.00
                       conference with Diocese, Blank
                       Rome, and BSK regarding
                       document production and
                       privilege issues (1.8); forward
                       documents to BSK for
                       production (.4); work on further



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                       document production (2.5).
03/10/2021    TMC      Preparation for and participation      0.80 hrs.        250 /hr       200.00
                       in conference call with
                       bankruptcy counsel regarding the
                       document production issues.
03/10/2021    KER      Continue privilege review of           0.40 hrs.        200 /hr        80.00
                       priest personnel files.
03/11/2021    RDW      Preparation for and participate in     2.10 hrs.        250 /hr       525.00
                       weekly CVA counsel call (.4);
                       preparation for and
                       communications with Diocese
                       regarding additional document
                       production, including personnel
                       files (1.7).
03/11/2021    TMC      Reviewing the decision and             0.40 hrs.        250 /hr       100.00
                       order granting a preliminary
                       injunction against the Lipsitz
                       firm.
03/12/2021    RDW      Telephone conference and               2.30 hrs.        250 /hr       575.00
                       emails with Diocese regarding
                       continued document production,
                       including additional personnel
                       files (.7); file review and
                       preparation for above (1.4);
                       review correspondence from
                       Justice Chimes and forward to
                       co-defense counsel (.2).
03/15/2021    RDW      Meeting at Diocese regarding           4.70 hrs.        250 /hr      1,175.00
                       document review (1.0); email to
                       Diocese regarding above (.3);
                       review of information from
                       Diocese regarding priests and
                       complaints (.5); review of new
                       CVA case and email from
                       plaintiff's counsel regarding
                       service (.6); email to BSK,
                       Diocese, and Blank Rome
                       regarding above (.5); review of
                       personnel files for privilege and
                       production (1.8).
03/15/2021    KER      Confer with paralegal, Krista K.       0.30 hrs.        200 /hr        60.00
                       Severino, regarding upcoming
                       privilege review.
03/15/2021    KKS      Review and prepare priest              2.20 hrs.        100 /hr       220.00
                       personnel files for associate's
                       review (1.3); review and analyze



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                       parish files per the request of
                       Randall D. White (.9).
03/16/2021    RDW      Preparation for and review of          5.70 hrs.        250 /hr      1,425.00
                       documents at Diocese (2.0);
                       emails regarding response to
                       plaintiffs' inquiry regarding
                       service (.5); email forwarding
                       Justice Chimes letter to defense
                       counsel (.7); review of personnel
                       files for privilege and production
                       (2.5).
03/17/2021    RDW      Telephone conference with              3.40 hrs.        250 /hr       850.00
                       co-defense counsel regarding
                       response to inquiry from
                       plaintiffs' counsel regarding
                       service (.5); review of file and
                       follow up on email to co-defense
                       counsel (.7); review of priest
                       personnel files for privilege and
                       production (2.2).
03/18/2021    RDW      Begin drafting of non-waiver           6.10 hrs.        250 /hr      1,525.00
                       agreement for possible insurer
                       mediation (3.0); email to
                       Terrence M. Connors and
                       Lawlor F. Quinlan III regarding
                       above (.5); participate in NYS
                       diocesan counsel call (.8); work
                       on document production,
                       including personnel file review
                       (1.8).
03/19/2021    RDW      Review of personnel files for          4.00 hrs.        250 /hr      1,000.00
                       production (3.1); conferences
                       and emails with Lawlor F.
                       Quinlan III and paralegal, Krista
                       K. Severino (.5); telephone
                       conference with Diocese
                       regarding above (.4).
03/20/2021    RDW      Work on document production,           2.20 hrs.        250 /hr       550.00
                       including personnel files (1.8);
                       conference with associate, Kelly
                       E. Riley regarding above and
                       review of additional documents
                       (.4).
03/20/2021    KER      Continue privilege review of           1.90 hrs.        200 /hr       380.00
                       priest personnel files (1.5); meet
                       with Randall D. White regarding
                       privilege review process,


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                       completed files, outstanding files
                       and prioritization of the same
                       (.4).
03/22/2021    RDW      Work on document production,           5.90 hrs.        250 /hr      1,475.00
                       including review of personnel
                       files (4.9); review of newly filed
                       lawsuits (.4); research and
                       telephone conference with
                       Diocese regarding lawsuits (.6).
03/22/2021    KKS      Prepare additional priest              0.50 hrs.        100 /hr        50.00
                       personnel files for review.
03/23/2021    LFQ      Conversation with Chancery             0.50 hrs.        250 /hr       125.00
                       representative regarding
                       handling inquiry from attorneys
                       regarding lawsuits.
03/23/2021    RDW      Preparation of draft non-waiver        8.10 hrs.        250 /hr      2,025.00
                       agreement (2.9); emails with
                       BSK regarding above (1.0);
                       review of privilege log regarding
                       further review of certain
                       documents (1.4); review of priest
                       personnel files for production
                       (2.0); emails forwarding
                       documents to BSK for
                       production (.4); email to Diocese
                       regarding document production
                       (.4).
03/23/2021    TMC      Conference call with                   2.60 hrs.        250 /hr       650.00
                       survivor/victim who wishes to
                       meet with Bishop Fisher and
                       providing him with the protocol
                       (.3); confer with BSK regarding
                       their non-waiver agreement,
                       health records, and the
                       production of documents to the
                       creditor's committee (.6); prepare
                       for and confer with our team
                       regarding the healthcare records,
                       possible privileges, and
                       production of additional
                       personnel files (1.3); reviewing
                       research with respect to the
                       healthcare privilege (.4).
03/23/2021    KKS      Review and analyze priest              2.40 hrs.        100 /hr       240.00
                       personnel files in preparation for
                       production (2.2); communicate
                       with litigation vendor regarding


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                       same (.2).
03/24/2021    RDW      Preparation for and conference          7.10 hrs.        250 /hr      1,775.00
                       regarding healthcare privilege
                       project (1.5); preparation of draft
                       non-waiver agreement regarding
                       insurance carrier mediation (3.2);
                       review of documents for
                       production, including personnel
                       files (2.4).
03/24/2021    KLD      Begin review of personnel files         0.50 hrs.        100 /hr        50.00
                       regarding health care privilege
                       issues.
03/24/2021    KKS      Prepare a link to the litigation        2.00 hrs.        100 /hr       200.00
                       review platform responsive to
                       certain documents requested by
                       Randall D. White for further
                       review (1.5); confer with
                       paralegal, Karly L. Durst and
                       Randall D. White regarding
                       project (.5).
03/25/2021    RDW      Preparation for and telephone           6.20 hrs.        250 /hr      1,550.00
                       conference with NYS Diocesan
                       counsel (.4); preparation of draft
                       non-waiver agreement and
                       detailed email forwarding it to
                       BSK (1.0); review of personnel
                       files for production (1.2); emails
                       regarding privilege issues on
                       specific documents (.8);
                       preparation for and conference
                       with associate, Kelly E. Riley
                       regarding above (1.0);
                       preparation for and telephone
                       conference with BSK team
                       regarding status and plan for
                       further document production
                       (1.0); email to Blank Rome
                       regarding documents and
                       potential insurance coverage (.8).
03/25/2021    TMC      Email correspondence regarding          1.90 hrs.        250 /hr       475.00
                       Lipsitz motion and discussion on
                       the non-waiver agreement (.7);
                       research on the applicability of
                       non-waiver agreements in the
                       context of insurance coverage
                       and conference with Randall D.
                       White regarding same (.6);



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                       discussion and email
                       correspondence with team
                       regarding insurance coverage
                       issues (.6).
03/25/2021    KLD      Continue review of personnel          2.00 hrs.        100 /hr       200.00
                       files regarding health care
                       privilege issues.
03/25/2021    KER      Meet/confer with Randall D.           1.30 hrs.        200 /hr       260.00
                       White regarding personnel files,
                       potentially privileged
                       documents, and further privilege
                       review (1.1); review/analyze
                       documents for necessary further
                       redactions (.1); telephone
                       conference with paralegal, Krista
                       K. Severino, regarding necessary
                       redactions and upcoming
                       production (.1).
03/26/2021    RDW      Numerous emails regarding draft       6.40 hrs.        250 /hr      1,600.00
                       non-waiver agreement for
                       insurance carrier mediation (.8);
                       conference regarding healthcare
                       privilege document project (.4);
                       review of documents for
                       production, including personnel
                       files (3.2); conferences with
                       associate, Kelly E. Riley
                       regarding privilege issues on
                       documents (.6); emails and
                       conferences with associate, Kelly
                       E. Riley and BSK regarding
                       privilege and victim
                       confidentiality issues (.6);
                       forward additional documents to
                       BSK for production (.4);
                       telephone conference with court
                       and co-defense counsel
                       regarding stay issues and
                       information (.4).
03/26/2021    TMC      Email correspondence with BSK         0.90 hrs.        250 /hr       225.00
                       regarding their interaction with
                       the insurance carriers and
                       privilege issues (.4); discussing
                       options regarding disclosure to
                       the insurance carriers and
                       creditor's committee and
                       mediation (.5).



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03/26/2021   KLD Continue review of personnel             1.60 hrs.      100 /hr        160.00
                   files regarding health care
                   privilege issues.
03/26/2021   KER   Confer with Randall D. White          2.90 hrs.       200 /hr        580.00
                   regarding potentially privileged
                   documents (.4); multiple
                   telephone conferences with
                   paralegal, Krista K. Severino,
                   regarding necessary documents
                   for privilege review (.2);
                   continue privilege review of
                   priest personnel files (2.3).
03/26/2021   KKS   Review and analyze additional         1.40 hrs.       100 /hr        140.00
                   priest personnel files for
                   production.
03/27/2021   RDW Review of personnel files for           2.00 hrs.       250 /hr        500.00
                   production.
03/28/2021   RDW Preparation of email regarding          1.20 hrs.       250 /hr        300.00
                   document production and related
                   issues.
03/29/2021   LFQ   Assist with document                  0.40 hrs.       250 /hr        100.00
                   production.
03/29/2021   RDW Continue review of additional           7.70 hrs.       250 /hr      1,925.00
                   personnel files for bankruptcy
                   production (2.9); review of file
                   and email response to BSK
                   inquiries regarding additional
                   personnel files and healthcare
                   privilege issues (1.8); conference
                   with Lawlor F. Quinlan III
                   regarding privilege issues and
                   personnel files (.4); review of
                   new lawsuits and emails to
                   Blank Rome regarding insurance
                   information (1.6); emails
                   regarding additional privilege
                   and production issues (1.0).
03/29/2021   KLD Continue review of personnel            5.50 hrs.       100 /hr        550.00
                   files regarding health care
                   privilege issues.
03/30/2021   RDW Review documents at Diocese             5.80 hrs.       250 /hr      1,450.00
                   (2.5); review of follow-up
                   document inquiries from
                   creditors' committee (.7);
                   investigation about creditors'
                   committee inquiries (1.8); emails



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                       to Blank Rome regarding newly
                       filed lawsuits and insurance
                       issues (.8).
03/30/2021    TMC      Inquiries from bankruptcy             0.30 hrs.        250 /hr         75.00
                       counsel regarding the protected
                       health information and
                       applicable privileges.
03/30/2021    KLD      Continue review of personnel          2.00 hrs.        100 /hr       200.00
                       files regarding health care
                       privilege issues.
03/30/2021    KKS      Review and analyze documents          1.50 hrs.        100 /hr       150.00
                       notated in email correspondence
                       from BSK to prepare a link for
                       review (.2); prepare a link to
                       responsive documents requested
                       by Randall D. White (.9); confer
                       with litigation vendor regarding
                       additional priest personnel files
                       (.4).
03/31/2021    RDW      Review of information regarding       5.00 hrs.        250 /hr      1,250.00
                       priests received from Diocese
                       (.4); review of recent CVA
                       decision regarding discovery
                       (1.0); review of priest personnel
                       files and emails regarding
                       privilege issues (1.8); review of
                       files and documents regarding
                       response to Creditors' Committee
                       document inquiries (1.7).
03/31/2021    TMC      Reviewing recent developments         2.70 hrs.        250 /hr       675.00
                       in Bankruptcy Court (.3); confer
                       with team regarding production
                       of documents for the creditor's
                       committee and applicable
                       privileges (.4); email
                       correspondence with attorney for
                       other Diocese regarding
                       favorable CVA decision (.9);
                       lengthy conversation with
                       victim/survivor regarding
                       background information and
                       request for a meeting with
                       Bishop Fisher and preparation of
                       memorandum (1.1).

                    Total fees for this matter                                           $48,970.00




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DISBURSEMENTS
03/15/2021    OUTSIDE REPRODUCTION OF DOCUMENTS - AVALON                           1,033.21
03/31/2021    COMPUTER RESEARCH - WESTLAW                                            219.08
                       Total disbursements for this matter                        $1,252.29

BILLING SUMMARY
               TOTAL FEES                                                        $48,970.00

               TOTAL DISBURSEMENTS                                                $1,252.29

               TOTAL CHARGES FOR THIS BILL                                       $50,222.29




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